                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
                                                    No. 19-CR-4021-LTS-KEM
 vs.
                                             REPORT AND RECOMMENDATION
 JESSICA ROSE OTT,                               Fed. R. Crim. P. 11(c)(1)(C)

        Defendant.
                                ____________________

       On July 23, 2019, the above-named Defendant appeared before the undersigned
United States Magistrate Judge by consent (Doc. 73) and, pursuant to Federal Rule of
Criminal Procedure 11, pleaded guilty to Counts 1 and 4 of the Superseding Indictment
(Doc. 30). After cautioning and examining Defendant under oath concerning each of the
subjects mentioned in Rule 11, I determined that Defendant’s decision to plead guilty was
knowing and voluntary and that each offense pleaded to was supported by an independent
basis in fact containing each of the essential elements of the offense.      I therefore
RECOMMEND that the Court ACCEPT Defendant’s guilty pleas and adjudge
Defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the government could use against Defendant any statements
made under oath.
       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of
education. I also inquired into Defendant’s history of mental health issues, use of drugs



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and alcohol, and current use of medications. From this inquiry, I determined Defendant
was not suffering from any mental disability or other issue that would impair Defendant’s
ability to make a knowing, intelligent, and voluntary guilty plea.
      Defendant acknowledged receipt of a copy of the Superseding Indictment and
further acknowledged that Defendant had fully discussed the Superseding Indictment with
Defendant’s counsel. Defendant acknowledged that Defendant had fully conferred with
counsel prior to deciding to plead guilty and that Defendant was satisfied with the
representation provided by Defendant’s counsel.
      I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including:
      1.     The right to assistance of counsel at every stage of the case;

      2.     The right to a speedy, public trial;

      3.     The right to have the case tried by a jury selected from a cross-section of
             the community;

      4.     That Defendant would be presumed innocent, and would be found not guilty
             unless the government could prove each and every element of the offense
             beyond a reasonable doubt;

      5.     Defendant would have the right to see and hear all the government’s
             witnesses, and Defendant’s attorney would have the right to cross-examine
             any witnesses called by the government;

      6.     That Defendant would have the right to subpoena witnesses to testify at the
             trial and if Defendant could not afford to pay the costs of bringing these
             witnesses to court, then the government would pay those costs;

      7.     That Defendant would have the privilege against self-incrimination; i.e.,
             Defendant could choose to testify at trial, but need not do so; if Defendant
             chose not to testify, then the Court would instruct the jury that it could not
             consider or discuss Defendant’s decision not to testify;

      8.     That any verdict by the jury would have to be unanimous;



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       9.     That Defendant would have the right to appeal, and if Defendant could not
              afford an attorney for the appeal, then the government would pay the costs
              of an attorney to prepare the appeal.

I explained that if Defendant pleaded guilty, Defendant would be giving up all of these
rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
Defendant acknowledged Defendant understood each of these rights and that Defendant
would be waiving these rights by pleading guilty.
       I determined that Defendant was pleading guilty pursuant to a plea agreement with
the government. After confirming that a copy of the written plea agreement was in front
of Defendant and Defendant’s counsel, I determined that Defendant had reviewed the
plea agreement with counsel prior to the hearing. I summarized the plea agreement, and
made certain Defendant understood its terms.
       I explained that because the plea agreement provided for dismissal of charges,1 if
Defendant pleaded guilty, a presentence report would be prepared, and a district judge
would consider whether to accept the plea agreement. If the district judge decided to
reject the plea agreement, then Defendant would have an opportunity to withdraw any
guilty plea and instead plead not guilty.
       I explained to Defendant that Defendant was pleading guilty under a plea
agreement with the government that provided for the imposition of a specific, agreed
upon sentence at the time of the sentencing hearing. I advised Defendant that the plea
agreement, under Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, provides
that Defendant will be sentenced to a term of imprisonment of 180 months, a term of 8
ears supervised release following the term of imprisonment, and a special assessment of
$200.00, and whatever fine, if any, the sentencing Court finds appropriate. I explained
to Defendant that at the sentencing hearing, the district judge would consider whether to

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 Pursuant to the plea agreement, Defendant will plead guilty to Count 1 and 4 of the Superseding
Indictment (Doc. 30) and Counts 2 and 3 will be dismissed at the time of sentencing.
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accept the plea agreement and impose the agreed upon sentence. If the district judge
decided to accept the plea agreement and impose the agreed upon sentence, then
Defendant would receive the agreed upon sentence. If the district judge decided to reject
the plea agreement, then Defendant would have an opportunity to withdraw a guilty plea
and plead not guilty. I explained to Defendant that if the district judge rejected the plea
agreement and Defendant did not withdraw a guilty plea, then the Court could dispose of
the case less favorably toward Defendant than the plea agreement contemplated, including
imposing a longer sentence than the one the parties had agreed to in the plea agreement.
       I explained that a United States Probation Officer would prepare a written
presentence investigation report to assist the Court at sentencing and that Defendant and
Defendant’s counsel would have an opportunity to read the presentence report before the
sentencing hearing, and would have the opportunity to object to the contents of the report.
I further explained that Defendant and Defendant’s counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
       I summarized the charges against Defendant and listed the elements. I determined
that Defendant understood each and every element, and Defendant’s counsel confirmed
that Defendant understood these elements. I elicited a full and complete factual basis for
all elements of the crimes to which Defendant was pleading guilty. Defendant’s attorney
indicated that each offense to which Defendant was pleading guilty was factually
supported.
       I advised Defendant of the consequences of each guilty plea, including the
maximum fine, the maximum term of imprisonment, the mandatory minimum term of
imprisonment, the term of supervised release, and the possibility that restitution may be
ordered.
       Specifically, I advised Defendant Count 1 is punishable by:
              mandatory minimum term of imprisonment           5 years;
              maximum term of imprisonment                     80 years;
              maximum fine                                     $10,000,000.00;

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                 minimum term of supervised release               8 years;
                 maximum term of supervised release               life.


          Specifically, I advised Defendant Count 4 is punishable by:
                 mandatory minimum term of imprisonment           10 years;
                 maximum term of imprisonment                     life;
                 maximum fine                                     $250,000.00;
                 maximum term of supervised release               not more than 5 years.
          I further advised Defendant that the sentence for Count 4 would be consecutive to
the sentence for Count 1.
          I advised Defendant that there is no parole in the federal system. I also advised
Defendant that the Court will impose a mandatory special assessment of $100.00, on each
count, for a total of $200.00, which Defendant must pay. I further advised Defendant of
the collateral consequences of pleading guilty.
          Defendant acknowledged understanding the consequences and penalties associated
with a guilty plea.
          I explained that the Court will impose conditions of supervised release, and that if
Defendant violates any condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release.
          I explained that pursuant to the plea agreement, Defendant waived any right to
appeal the sentence imposed by the judge, except for under the limited circumstances set
forth in the plea agreement. Defendant acknowledged understanding of this section of
the plea agreement.
          Defendant confirmed that the decision to plead guilty was voluntary and was not
the result of any promises, other than plea agreement promises, and the decision to plead
guilty was not the result of anyone threatening, forcing, or pressuring Defendant to plead
guilty.     I explained that after the district judge accepted Defendant’s guilty plea,
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Defendant would have no right to later withdraw that plea, even if the sentence imposed
was different from what Defendant anticipated.
      Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pleaded guilty to Counts 1 and 4 of the Superseding Indictment.
      I find the following with respect to each guilty plea:
      1.     Defendant’s plea is voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and Defendant is fully
             competent.

      2.     Defendant is aware of the minimum and maximum punishment.

      3.     Defendant knows of and voluntarily waived Defendant’s jury trial rights.

      4.     There is a factual basis for the plea.

      5.     Defendant is guilty of each crime to which Defendant pleaded guilty.

      I explained that the parties have 14 days from the filing of this Report and
Recommendation to file any objections to my findings, and that if no objections are made,
then the district judge may accept Defendant’s guilty plea by simply entering a written
order doing so.
      United States v. Cortez-Hernandez, 673 Fed. App’x 587 (8th Cir. 2016) (per
curiam), suggests that a Defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see
28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within 14 days after this report and recommendation is filed.
      DONE AND ENTERED this 23rd day of July, 2019.


                                                 Kelly K.E. Mahoney
                                                 Chief United States Magistrate Judge
                                                 Northern District of Iowa


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